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Fill in this information to identify the case:

United States Bankruptcy Court for the:
                           Southern District of Texas
                                          (State)                                                                                 ☐ Check if this is an
Case number (if known):                                       Chapter      11                                                         amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                   02/20
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               HOS WELLMAX Services, LLC


                                                 N/A
2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                   XX-XXXXXXX


4. Debtor’s address                       Principal place of business                                 Mailing address, if different from principal place
                                                                                                      of business
                                          700 Milam Street                                            8 Greenway Plaza, Suite 1525
                                          Number            Street                                    Number         Street

                                          Suite 1300
                                                                                                      P.O. Box

                                          Houston, TX 77002                                           Houston, TX 77046
                                          City                            State      Zip Code         City                         State      Zip Code

                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                          Harris County
                                          County                                                      Number         Street




                                                                                                      City                         State      Zip Code




5. Debtor’s website (URL)                 N/A

6.   Type of debtor                       ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                          ☐ Partnership (excluding LLP)

                                          ☐ Other. Specify:




      Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 1
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Debtor            HOS WELLMAX Services, LLC                                        Case number (if known)
           Name


                                          A. Check One:
7.   Describe debtor’s business           ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                          ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                          ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                          ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                          ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                          ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          ☒ None of the above

                                          B. Check all that apply:
                                          ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                          ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                          ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                          4831
                                          Check One:
8. Under which chapter of the
   Bankruptcy Code is the                 ☐ Chapter 7
   debtor filing?
                                          ☐ Chapter 9

                                          ☒ Chapter 11. Check all that apply:

                                                            ☐ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                              insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                              4/01/22 and every 3 years after that).
                                                            ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                              debtor is a small business debtor, attach the most recent balance sheet, statement
                                                              of operations, cash-flow statement, and federal income tax return, or if all of these
                                                              documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                            ☐ The debtor is a small business as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                              proceed under Subchapter V of Chapter 11.
                                                            ☐ A plan is being filed with this petition.

                                                            ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).
                                                            ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                              Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                            ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          ☐ Chapter 12

9. Were prior bankruptcy cases         ☒ No
   filed by or against the debtor      ☐ Yes.    District                           When                      Case number
   within the last 8 years?                                                                  MM/DD/YYYY
     If more than 2 cases, attach a              District                           When                      Case number
     separate list.                                                                          MM/DD/YYYY

10. Are any bankruptcy cases           ☒ No
    pending or being filed by a        ☐ Yes.    Debtor                                                       Relationship
    business partner or an
    affiliate of the debtor?                     District
     List all cases. If more than 1,                                                                          When
     attach a separate list.                                                                                                   MM / DD / YYYY
                                                 Case number, if known _______________________

     Official Form 201                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 2
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Debtor           HOS WELLMAX Services, LLC                                            Case number (if known)
          Name



11. Why is the case filed in this      Check all that apply:
    district?
                                       ☒    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.
                                       ☐    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have        ☒ No
    possession of any real             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                 ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                       safety.
                                                       What is the hazard?

                                                 ☐     It needs to be physically secured or protected from the weather.

                                                   ☐   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                       assets or other options).
                                                 ☐     Other


                                                 Where is the property?
                                                                                      Number          Street



                                                                                      City                                  State       Zip Code



                                                 Is the property insured?
                                                 ☐ No

                                                 ☐ Yes.     Insurance agency

                                                            Contact name
                                                            Phone




                       Statistical and administrative information

13. Debtor's estimation of            Check one:
    available funds
                                      ☐ Funds will be available for distribution to unsecured creditors.
                                      ☒ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

14. Estimated number of               ☒     1-49                       ☐     1,000-5,000                        ☐    25,001-50,000
    creditors                         ☐     50-99                      ☐     5,001-10,000                       ☐    50,001-100,000
                                      ☐     100-199                    ☐     10,001-25,000                      ☐    More than 100,000
                                      ☐     200-999



15. Estimated assets                  ☒     $0-$50,000                 ☐     $1,000,001-$10 million              ☐   $500,000,001-$1 billion
                                      ☐     $50,001-$100,000           ☐     $10,000,001-$50 million             ☐   $1,000,000,001-$10 billion
                                      ☐     $100,001-$500,000          ☐     $50,000,001-$100 million            ☐   $10,000,000,001-$50 billion
                                      ☐     $500,001-$1 million        ☐     $100,000,001-$500 million           ☐   More than $50 billion




   Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
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Debtor           HOS WELLMAX Services, LLC                                             Case number (if known)
          Name



16. Estimated liabilities            ☒       $0-$50,000                  ☐    $1,000,001-$10 million                ☐    $500,000,001-$1 billion
                                     ☐       $50,001-$100,000            ☐    $10,000,001-$50 million               ☒    $1,000,000,001-$10 billion
                                     ☐       $100,001-$500,000           ☐    $50,000,001-$100 million              ☐    $10,000,000,001-$50 billion
                                     ☐       $500,001-$1 million         ☐    $100,000,001-$500 million             ☐    More than $50 billion

                   Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of         petition.
    debtor
                                         I have been authorized to file this petition on behalf of the debtor.
                                         I have examined the information in this petition and have a reasonable belief that the information is true and
                                         correct.

                                I declare under penalty of perjury that the foregoing is true and correct.

                                         Executed on         03/31/2020
                                                              MM/ DD / YYYY


                                              /s/ Samuel A. Giberga                                             Samuel A. Giberga
                                              Signature of authorized representative of debtor               Printed name

                                              Title    Authorized Signatory




18. Signature of attorney                     /s/ Matthew D. Cavenaugh                                      Date        03/31/2020
                                              Signature of attorney for debtor                                          MM/DD/YYYY



                                              Matthew D. Cavenaugh
                                              Printed name
                                              Jackson Walker L.L.P.
                                              Firm name
                                              1401 McKinney Street, Suite 1900
                                              Number                 Street
                                              Houston                                                               Texas             77010
                                              City                                                                  State               ZIP Code
                                              (713) 752-4200                                                        mcavenaugh@jw.com
                                              Contact phone                                                            Email address
                                              24062656                                                Texas
                                              Bar number                                          State




   Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 4
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                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE SOUTHERN DISTRICT OF TEXAS
                                         HOUSTON DIVISION

                                                         )
    In re:                                               )     Chapter 11
                                                         )
    HOS WELLMAX SERVICES, LLC,                           )     Case No. 20-___________(___)
                                                         )
                             Debtor.                     )
                                                         )

                                   LIST OF EQUITY SECURITY HOLDERS1

             Debtor                 Equity Holders           Address of Equity Holder         Percentage of
                                                                                               Equity Held
                                                              103 Northpark Boulevard
    HOS WELLMAX                  Hornbeck Offshore
                                                                     Suite 300                     100%
    Services, LLC                Services, Inc.
                                                             Covington, Louisiana 70433




1      This list serves as the disclosure required to be made by the debtor pursuant to rule 1007 of the Federal
       Rules of Bankruptcy Procedure. All equity positions listed indicate the record holder of such equity as
       of the date of commencement of the chapter 11 case.
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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

                                                      )
 In re:                                               )    Chapter 11
                                                      )
 HOS WELLMAX SERVICES, LLC,                           )    Case No. 20-___________(___)
                                                      )
                          Debtor.                     )
                                                      )

                                    CORPORATE OWNERSHIP STATEMENT

         Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
class of the debtor’s equity interest:

                     Shareholder                            Approximate Percentage of Shares Held

           Hornbeck Offshore Services, Inc.                                      100%
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    Fill in this information to identify the case and this filing:

   Debtor Name          HOS WELLMAX Services, LLC

   United States Bankruptcy Court for the:                Southern District of Texas

                                                                                             (State)
   Case number (If known):



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☐     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration                      List of Equity Security Holders and Corporate Ownership
            Statement
    I declare under penalty of perjury that the foregoing is true and correct.

     Executed on
                                                                                  /s/ Samuel A. Giberga
                                       03/31/2020
                                       MM/ DD/YYYY                               Signature of individual signing on behalf of debtor
                                                                                 Samuel A. Giberga
                                                                                 Printed name
                                                                                 Authorized Signatory
                                                                                 Position or relationship to debtor

Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                   UNANIMOUS WRITTEN CONSENT
                                     OF THE SOLE MANAGER OF
                                   HOS WELLMAX SERVICES, LLC

                                               (the “Company”)

                                               March 31, 2020


        The undersigned, being the sole manager (the “Manager”) of the Company, and pursuant to the
authority of the Limited Liability Company Agreement of the Company, and of Section 18-404(d) of the
Delaware Limited Liability Company Act, as amended, hereby consents to, authorizes and adopts the
following resolutions.


         WHEREAS, the Manager considered presentations and advice by management and by the
financial and legal advisors of the Company regarding the liabilities and liquidity situation of Hornbeck
Offshore Services, Inc. (the “Parent”) and its subsidiaries including the Company, the strategic alternatives
available, and the effect of the foregoing on the Parent’s businesses and the business of the Parent’s
subsidiaries, including the Company;

        WHEREAS, the Manager has had the opportunity to consult with management and the financial
and legal advisors of the Company and to fully consider each of the strategic alternatives available to the
Company; and

        WHEREAS, the Manager has determined, in its judgment, that the following resolutions are
advisable and in the best interests of the Company, the Parent, their creditors, and other parties in interest.

                                          CHAPTER 11 FILING

          NOW, THEREFORE, BE IT RESOLVED, that in the judgment of the Manager, it is desirable
and in the best interests of the Company, the Parent and its other subsidiaries, their creditors, and other
parties in interest, that the Company shall be, and hereby is, authorized to file or cause to be filed a voluntary
petition for relief (the “Chapter 11 Case”) under the provisions of title 11 of the United States Code (the
“Bankruptcy Code”) in the United States Bankruptcy Court for the Southern District of Texas (the
“Bankruptcy Court”) or other court of competent jurisdiction; and

          RESOLVED FURTHER, that the President and Chief Executive Officer, the Executive Vice
President and Chief Financial Officer and the Executive Vice President and General Counsel and any such
other officer of the Company as deemed necessary and appropriate (each, an “Authorized Officer” and,
collectively, the “Authorized Officers”), acting alone or with one or more other Authorized Officers be,
and each of them hereby is, authorized, empowered, and directed to execute and file on behalf of the
Company all petitions, schedules, lists, and other motions, objections, replies, applications, papers, or
documents, and to take any and all action that they deem necessary, appropriate, or desirable to obtain such
relief, including, without limitation, any action necessary, appropriate, or desirable to maintain the ordinary
course operation of the Company’s businesses or to assist the Company in the Chapter 11 Case and in
carrying out its duties under the provisions of the Bankruptcy Code.

                                                      GENERAL

        RESOLVED, that the Company and the Manager have received sufficient notice of the actions
and transactions relating to the matters contemplated by the foregoing resolutions, as may be required by
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the organizational documents of the Company, or hereby waives any right to have received such notice;

          RESOLVED FURTHER, that in addition to the specific authorizations heretofore conferred upon
the Authorized Officers, each of the Authorized Officers (and their designees and delegates) be, and hereby
is, authorized and empowered, in the name of and on behalf of the Company, to take or cause to be taken
any and all such other and further action, and to execute, acknowledge, deliver, and file any and all such
agreements, certificates, instruments, and other documents and to pay all expenses, including but not limited
to filing fees, in the case as in such officer’s or officers’ judgment, shallbe necessary, advisable, or desirable
in order to fully carry out the intent and accomplish the purposes of the resolutions adopted herein;

        RESOLVED FURTHER, that all acts, actions, and transactions relating to the matters
contemplated by the foregoing resolutions done in the name of and on behalf of the Company, which acts
would have been approved by the foregoing resolutions except that such acts were taken before the adoption
of these resolutions, are hereby in all respects approved and ratified as the true acts and deeds of the
Company with the same forc e and effect as if each such act, transaction, agreement, or certificate has
been specifically authorized inadvance by resolution of the Manager;
        RESOLVED FURTHER, that this Action may be executed in any number of counterparts, each
of which shall be deemed to be an original, and such counterparts shall constitute but one and the same
consent;

       RESOLVED FURTHER, that electronic or photostatic copies of signatures to this Action shall
be deemed to be originals and may be relied on to the same extent as the originals; and

          RESOLVED FURTHER, that the actions taken by this Action shall have the same force and effect
as if taken at a meeting of the Manager, as applicable, duly called and constituted pursuant to the Company’s
limited liability company agreement and the applicable laws of the jurisdiction in which the Company is
organized.

                                      *        *        *       *        *




                                                        2
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        IN WITNESS WHEREOF, the undersigned, in his capacity           as the sole manager of the Company,
has duly executed this Written Consent as of the date first written above.



                                                  SOLE MANAGER:



                                                      Todd




                        lSignature Page to Unanimous Consent       -   Bankruptcyl
